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 7                          UNITED STATES DISTRICT COURT
 8                           FOR THE DISTRICT OF ARIZONA
 9
     Cathleen Fleming,                          ) Case No. CV10-02227-PHX-MHB
10                                              )
11
     Plaintiff,                                 ) ORDER ON PARTIES STIPULATION
                                                ) TO DISMISS WITH PREJUDICE
12          vs.                                 )
13
                                                )
     Gurstel, Staloch & Chargo, PA,             )
14                                              )
15
     Defendant.                                 )
                                                )
16                                              )
17
            The court, having considered the parties Stipulation to Dismiss (Doc. 20),
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            IT IS HEREBY ORDERED granting the Stipulation and dismissing this case with
19

20   prejudice.
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            Dated this 22nd day of February, 2011.
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